                                   MINUTES
                                                              FILED IN THE
                                                     UNITED STATES DISTRICT COURT
                                                          DISTRICT OF HAWAII

                                                          5/24/2006 4:30 pm

                                                           SUE BEITIA, CLERK

 CASE NUMBER:          CIVIL NO. 05-00557DAE-LEK
 CASE NAME:            Hawai’i Disability Rights Center, a Hawaii Corporation vs.
                       Susanna F. Cheung, et al.
 ATTYS FOR PLA:
 ATTYS FOR DEFT:
 INTERPRETER:


       JUDGE:     Leslie E. Kobayashi        REPORTER:

       DATE:      5/24/2006                  TIME:


COURT ACTION: EO: Re: Defendants Susanna F. Cheung, Ann K. Higa, Mary Reavis,
Opportunities for the Retarded, Inc.'s Motion for Summary Judgment currently set for
9:45 6/19/06 before Judge David Alan Ezra.

Parties are in agreement and the Court has approved that the deadline for the
Memorandum in Opposition to the Motion for Summary Judgment previously due 6/1/06
is now due 6/8/06.

Cc: all counsel

Submitted by: Warren N. Nakamura, Courtroom Manager
